 

4` AO 245B (Rev. 09;'1 l) Judgment in a Crimi'nal Case
Sheet l

 

 

UNITED STATES DiSTRiCT COURT

Northeni District of Illinois

 

 

 

 

U`NITED STATES OF AMERICA § JUDGMENT IN A CRIMINAL CASE
v. )
ROD BLAGOJEV|CH § Case Number: 08 CR 888 ~ 1
§ USM i\iumber: 40892-424
) She|cion Sorosky
Defendan¢’s Attomey
THE DEFENDANT:

l___i pleaded guilty to count(s)

 

ij pleaded nolo contendere to couut(s)

 

which was accepted by the court.
liu/as found guilty on count(s) 3, 5-13, 1_5-18, 21-24 of the second superseding indictment

 

after a plea of riot guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended _Q¢Lnt
:18:1`;3-4`3&134¢ _ . .__j_viiiie arena _ _ - `_ _ ' ` ;- __ .. i_zis_iz`o°os_" -_` - `3, 5-1_3` z
18:1951 (a) & 2 Conspiracyfattempted extortion 12)'9/2008 l l 15,17,21,
18;.1951.§(3']'&2 '- `f. Conspiracyfattemptedexfortion :_"':_: ii _ _ -_ -` .;`:`- n n _1"2!9¢/_3`;"0€!:8_.1l n 22 n
The defendant is sentenced as provided in pages 2 through 6 of this judgment The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.
H'The defendant has been found not guilty on count(s) 20 Df fh€ SBCOnd Sl.|perSeding indictment

 

Q’Count(s) remaining i:i is gate dismissed on the motion of the United States.

 

t _ lt is ordered that the defendant trust notify the United States attorney for this district within 30 da s of _any change of nam, residence,
or mailui address until all fines, restitution, costs, and special assessments imposed lay this judgment are fu ly paid. Iii)rdered to pay restitution,
the defen nt must notify the court and United States attorney of material changes in economic circumstances

1217/2011

Uposition of Judgmerit
. attire f Judge 0

 

JAMES B. ZAGEL U.S. District Judge
Name of .ludge Title of Judge
121l 1 31201 1

 

Date

 

 

 

AO 2453 (Rev. 09/| l) .ludgmerii in a Criminal Case
Sheet IA

DEFENDANT; Roo eLAGoJEvlci-i J“dgme“‘_"“ge ; °f

CASE NUMBER: 08 CR 888 - 1

ADDITIONAL COUNTS OF CONVICTION

m|

T_itl_e & Sectioli _ Nature of O_ffense Offense Eiided _ Count
. 1'8:6`86('3)(1)((8) ' 'Corrupt_so|icitation_ of funds - ' - _4 139/2008 _16
18:371 Conspiracy to corruptly solicit funds 3/18¢‘2005 18, 23

-jB-;¢;g[-y|_.: . _ _' `M-a'kin'g'~fa|s_'e statements _ ' _ " _ -' _( 7 n '31161,¢'__2{}05. " 24

 

 

 

AO 24$B (Rev. 09/]1] Judgmenl in Criminal Case
Sheet 2_ Imprisonment

.iudgme`nt _ Page 3 of 6

DEFENDANT: ROD BLAGOJEVICH
CASE NUMBER: 08 CR 888 - 1

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureaii of Prisons to be imprisoned for a
total term of:

one hundred sixty-eight (168) months. Said term consists of one hundred sixty-eight months on second superseding counts
3, 5-13, 15,17, 21 and 22; sixty (60) months on second superseding counts 16, 18 and 23; and thirty~six (36) months on
second superseding count 24. Said terms to be served concurrently

d The court makes the following recommendations to the Bureau of Prisons:

incarceration at FC| Eng|ewood, CO. Participation in RDAP. while incarcerated

|:i The defendant is remanded to the custody of the United States Marshai.

|:l The defendant shall surrender to the United States Marshal for this district

l:i at ' [] a.m. [i p.m. on

 

i:i as notified by the United States Marshal.

g The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
d before 2 p.rn, on 3/15/2012

i:i as notified by the United States Marshal.

 

i:i as notified by the Probation or Pretriai Sei'vices Office.

 

 

 

RETURN
l have executed this judgment as follows:
Defendaiit delivered on to
a , with a certified copy of this judgmentl
UNITED STATES MAR.SHAL
By

 

DEPUTY UNlTED STATES MARSHAL

 

 

AO 245B (Rev. 09!11]Judgmeiitin a Criminal Case
Slieet 3 - Supervised Release

DEFENDANT: ROD BLAGOJEV|CH ludgm€nf_l’ase
CASE NUMBER.' 08 CR 888 - 1

4 of

SUPERVISED RELEASE

 

Upon release from imprisonment, the defendant shall be on supervised release for a term of :
twenty»four (24) months. Saici term consists of twenty four months on each of second superseding counts 3, 5-13, 15-18,
21-24, to be served concurrent|y.
The defendant must report to the probation office in the districtto which the defendant is released within 72 hours of releasefrom the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfull ossess a controlled substance The defendant shall refrain from an unlawful use of c t ll d
substance The defendant shall su §~iit to one drug test within 15 days of release from imprisonment and at least two perigdil:md;:g elests

thereafter, as determined by the court_
|:| The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check. rfappiiciible_)

The defendant shall not possess a firearrn, arnmunition, destructive device, or any other dangerous weapon (Check. yappiicable.)

_ _ _ _ _(42 U.S.C. § 16901, etseq.)
as directed by the probation officer, the ureau o_f Prisons, or any state sex offender registration agency in which he or she resides,
works, is a student, or was convicted cfa qualifying offense. (Chech ifapplicabie_)

g The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, gapp!icable.)
m The defendant shall comply with the re uirements of the Sex Offender Registration and Notification Act

[l The defendant shall participate in an approved program for domestic violence (Check, grappi¢'pable.,i

If this judgment imposes a_tine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Scheduie of Payirients sheet of this judgment

The defendant must comply with the standard conditions that hare been adopted by this court as well as with any additionalonditioris
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

l) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly ata lawful occupation, unless excused by the pro bation officer for schooling, training, o r other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change iri residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any p)ersons engaged in criminal activity and shall not associate with any person convicted cfa
felony, unless granted permission to do so y the pro ation officer;

10) the defendant shall permit a_ probation officer to yisit him or her at any time at horne or elsewhere and shall permit confiscation of any
contraband observed iri plain view of the probation officer;

ll) the defendant shall notify the probation officer within seveny-two hours of being arrested or questioned by a law enforcement officer;
12) the defendant shall not enter into any agreern ent to act as an informer or a special agent of a law enforcem ent agency without the
permission of the court; and

13) as directed by the 1probation officer, the defendant shall notif'_third parties _of risks that may be occasioned by the defenchnt’s criminal
record or ersona history or characteristics and shall perm it the probation officer to m ake such no tiflcations and to confirm the

defendant s compliance with such notification requirement

 

 

 

` AO 2455 (Rev. 09fl l) Jiidgment in a Criminal Case
Sheet 5 _ Criminal Monetary Penalties

 

 

n _ s
DEFENDANT; soo eLAcoJEvlci-i J“°‘g"'°‘ Pag'= _ <>f 6

case NUMBER; 08 ca sss - 1 _
' CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALs $ 1,390_00 $ 20,000.00 $
l:l The determination of restitution is deferred until . An Amended Judgmenr in cr Cri'mi'rial Ca.re (A0245C) will be entered

after such determination
[:l The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each pa ee shall receive an approxirnatel rogortioned ayment, unless specified otherwise in
the priority order or percentage payment column elow. However, pursuant to 18 S. . § 3664(¥1, , all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss* Restitution Ordered Priority or Percentage
ToTALs s 0.00 ` s 0.00

|;l Restitution amount ordered pursuant to plea agreement $

The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgrnent, pursuant to 18 U.S.C. § 3612@. All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(§).

g The court determined that the defendant does not have the ability to pay interest and it is ordered that:
d the interest requirement is waived for the g fine L__] restitution.

l:l the interest requirement for the m fine I:| restitution is modified as follows:

* Findings for the total annum of losses arc required under Chapers 109A, 110, 1 lOA, and l l3A of Title 18 fooffenses committed on or alter
Septernber 13, 1994, but before April 23, 199 .

 

 

a AO 245B (Rev. 09/1 l) Judgment in a Criminal Case
Sheet 6 _ Scheduie ofPayments

 

 

Judgment h Page 6 of 6
DEFENDANT§ ROD BLAGOJEV|CH
CASE NUMBERZ 03 CR 883 - ‘l

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A ij Lump sum payment of $ 21.300-00 due immediately, balance due
[:] not later than , or
|:| in accordance |___] C, g D, |:| E, or ij F below; or
B |:| Payment to begin immediately (may be combined with [:} C, ij D, or [] F below}; or
C 1___] Payment in equal (e.g., weekly, monthly, quarrer!y) installments of $ over a period of
(e.g., months oryears), to commence (e.g., 30 or 60 days) after the date of this judgment; or
D |:| Payrnent in equal (e.g., weekly, anomalyJ quarterly) installments of $ over a period of
(e.g., months oryenrs), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E |:| Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time,' or

F [___| Special instructions regarding the payment of criminal monetary penalties:

_Unle_ss the court has ertpr_essly ordered otherwise, if this judgrmt imposes imprisonment, a ent of criminal monetary penalties is due durin
imprisonment Ali criminal mone penalties, except those payments made throug e Federal Bureau ofPrisons’ Inm ate Financia

Responsibility Program, are made to t e clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed

L_.l Joint and Several

Defendant and _Co-Defendant Names and Case Numbers (i'ncluding defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate

l:l The defendant shall pay the cost of prosecution i

[l The defendant shall pay the following court cost(s):

Payments shall be applied in the following order: (1? assessment (2) restitution principal, (3) restitution interest, (4) fine principal,

|
l
|:l The defendant shall forfeit the defendant’s interest in the following property to the United States:
(5) fine interest, (6) community restitution, (7) pena ties, and (8) costs, including cost of prosecution and court costs.

